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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 9

10          SIRIA BROWN,                                      CASE NO. C21-934 MJP

11                                  Plaintiff,                DISMISSAL ORDER

12                  v.

13          ALLSTATE INSURANCE
            COMPANY,
14
                                    Defendant.
15

16
            The Court having been notified of the settlement of this case (Dkt. No. 6), and it
17
     appearing that no issue remains for the court’s determination,
18
            IT IS ORDERED that this action and all claims asserted herein are DISMISSED with
19
     prejudice and without costs to any party.
20
            In the event that the settlement is not perfected, any party may move to reopen the case,
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     provided that such motion is filed within sixty (60) days of the date of this order. Any trial date
22
     and pretrial dates previously set are hereby VACATED.
23
            \\
24


     DISMISSAL ORDER - 1
              Case 2:21-cv-00934-MJP Document 7 Filed 09/30/21 Page 2 of 2




 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Dated September 30, 2021.

 3                                                       A
                                                         Marsha J. Pechman
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                                                         United States Senior District Judge
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     DISMISSAL ORDER - 2
